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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

ANNA CONOVER, PARRISH AND           :
JACQUELINE SHERIDAN, BRYAN AND      : Civil Action No.:
JACQUELINE VAN VELSON,              :
                                    :
               Plaintiffs,          :
                                    :
            v.                      :    CLASS ACTION COMPLAINT AND
                                    :        DEMAND FOR JURY TRIAL
PATRIOT LAND TRANSFER, LLC, PATRIOT :
LAND PROCESSING, LLC, WELLS FARGO :
BANK, N.A.,                         :
                                    :
               Defendants.          :

       Plaintiffs Anna Conover, Parrish and Jacqueline Sheridan, and Bryan and Jacqueline Van

Velson, on behalf of themselves and on behalf of the entire class of persons similarly situated, by

and through their attorneys, hereby file this Class Action Complaint and state as follows:

                                         INTRODUCTION

       1.      Plaintiffs are borrowers who currently have or had a federally related mortgage

loan, as defined by 12 U.S.C. § 2602, which was or is secured by Plaintiffs’ residential real

property. For the purposes of procuring title insurance and to facilitate the escrow and settlement

process, Plaintiffs used Patriot Land Transfer, LLC (also /d/b/a Patriot Land Transfer of NJ,

LLC) or Patriot Land Processing, LLC, (collectively, the “Patriot Defendants”) as a result of
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their lender or mortgage broker’s referral thereto.

           2.   Plaintiffs and Class Members were victims of an illegal kickback scheme

(“Patriot Kickback Scheme”) whereby Wells Fargo Bank, N.A. (“Wells Fargo”), its corporate

management, branch managers, loan officers (known as home mortgage consultants (“HMCs”))

and/or other employees and/or agents directly or indirectly received unearned fees, things of

value and kickbacks paid by the Patriot Defendants in violation of the Real Estate Settlement

Procedures Act, 12 U.S.C. § 2601, et seq. (“RESPA”). These kickbacks were paid pursuant to a

quid pro quo agreement for kickbacks in exchange for the referral of Wells Fargo borrowers to

the Patriot Defendants for settlement services. Neither Wells Fargo nor any of their employees

and/or agents receiving the kickbacks performed any title or settlement services associated with

the kickbacks. Plaintiffs believe, and therefore aver, that the Patriot Defendants had kickback

agreements with other lenders and/or mortgage companies (collectively, with Wells Fargo, the

“Participating Lenders”) to refer their borrowers to the Patriot Defendants. Plaintiffs reserve the

right to amend this Complaint to add other Participating Lenders as defendants.

           3.   These kickbacks, and Defendants’ coordinated business relationship, were

fraudulently concealed by the Participating Lenders and the Patriot Defendants from Plaintiffs

and Class Members and were omitted from Plaintiffs and Class Members’ HUD-1s and other

required loan documents in an effort to hide the kickbacks and the Patriot Kickback Scheme

from Plaintiffs and Class Members.

                                             PARTIES

           4.   Plaintiffs bring this action pursuant to Fed. R. Civ. P. 23 as a class action on their

own behalf and on behalf of the entire class of people similarly situated that is defined in

paragraphs 70 and 71, below.



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           5.    Plaintiff Anna Conover is a citizen and resident of Atlantic County, New Jersey,

and lives at 238 Main Avenue, Milmay, New Jersey.

           6.    Plaintiffs Parrish and Jacqueline Sheridan are citizens and residents of Monmouth

County, New Jersey, and live at 213 Fairway Lane, Neptune, New Jersey.

           7.    Plaintiffs Bryan and Jacqueline Van Velson are citizens and residents of

Monmouth County, New Jersey, and live at 4 Parkview Drive, Hazlet, New Jersey.

           8.    Defendant Patriot Land Transfer, LLC, is a limited liability company licensed to

conduct business throughout New Jersey and elsewhere and maintains its principal place of

business at 5001 New Jersey 42, Turnersville, New Jersey, 08012. In some places, such as

Pennsylvania, Defendant Patriot Land Transfer LLC also does business as “Patriot Land Transfer

of NJ, LLC.”

           9.    Defendant Patriot Land Processing, LLC, is a limited liability company licensed

to conduct business throughout New Jersey and Pennsylvania, and maintains its principal place

of business at 5001 New Jersey 42, Turnersville, New Jersey, 08012.

           10.   Defendant Wells Fargo Bank, N.A., is a member of the national association of

banks doing business throughout the United States and existing under California law. Wells

Fargo engaged in the business of residential mortgage lending across the nation, including in

New Jersey and Pennsylvania.

                                 JURISDICTION AND VENUE

           11.   This Court has personal jurisdiction over the parties and subject matter

jurisdiction over this action pursuant to 28 U.S.C. § 1331.

           12.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred within this District.



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                 FACTUAL ALLEGATIONS FOR INDIVIDUAL AND CLASS RELIEF

           13.   Congress enacted RESPA in 1974 as a response to the abuses in the real estate

settlement process. Congress found that kickbacks and unearned fees in the settlement process

resulted in unnecessarily high settlement charges and other harms to residential mortgage

borrowers.

           14.   12 U.S.C. § 2607 states in relevant part:

                 (a) Business Referrals. No person shall give and no person shall
                     accept any fee, kickback, or thing of value pursuant to any
                     agreement or understanding, oral or otherwise, that business
                     incident to or a part of a real estate settlement service involving
                     a federally related mortgage loan shall be referred to any
                     person.

                 (b) Splitting charges. No person shall give and no person shall
                     accept any portion, split or percentage of any charge made or
                     received for the rendering of a real estate settlement service in
                     connection with a transaction involving federally related
                     mortgage loan other than for services actually performed.

           15.   12 U.S.C. § 2607(d)(2) states in relevant part:

                 Any person or persons who violate the prohibitions or limitations
                 of [12 USC § 2607] shall be jointly and severally liable to the
                 person or persons charged for the settlement service involved in
                 the violation in an amount equal to three times the amount of any
                 charge paid for such settlement service.

           16.   The purpose of 12 U.S.C. § 2607 is to eliminate payment of unearned fees in

connection with settlement services provided in federally related mortgage transactions, to

protect consumers from unnecessarily high settlement charges caused by certain abusive

practices, and to protect against other harms to consumers resulting from coordinated business

relationships for settlement services. See 12 U.S.C. § 2601.

           17.   The Patriot Defendants were at all relevant times title services companies licensed

under the laws of various states, including New Jersey and Pennsylvania.


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           18.   At all relevant times, Wells Fargo’s employees and/or agents were licensed

HMCs, mortgage brokers and/or authorized loan officers and at all relevant times were acting

within scope of the business relationship and duties of their employment on behalf of Wells

Fargo, specifically: seeking borrowers and securing loans for residential mortgages through

Wells Fargo and/or brokering such loans through Wells Fargo to other lenders authorized by

Wells Fargo, the referral of Wells Fargo borrowers and/or their loans to title companies, and

working with title companies to close these loans. All activities, including the interaction with

the Patriot Defendants, were for the benefit of Wells Fargo.

           Wells Fargo’s History of Receiving and Accepting Kickbacks Paid by Title and
           Settlement Services Companies

           19.    Despite continued enforcement of RESPA, the prevalence of kickbacks and

unearned fee splits remains in many markets with some experts estimating that, in some markets,

the great majority of all residential mortgage and refinance transactions are subject to kickbacks.

See Kenneth R. Harney, Feds target real estate kickback deals that cost you money, Chicago

Tribune (October 21, 2015), http://www.chicagotribune.com/classified/ realestate/ct-mre-1025-

harney-20151021-column.html.

           20.   Wells Fargo has a history of participating in kickback schemes related to its

residential mortgage lending. Beginning in 2009 and continuing through early 2013, Wells

Fargo’s branch managers, mortgage brokers or HMCs, and other employees and/or agents were

paid, accepted and received kickbacks in exchange for the referral of loans to Genuine Title

LLC, a Maryland title and settlement services company, for settlement services. Wells Fargo

received and accepted kickbacks in two forms: (1) direct cash payments and (2) free marketing

materials, including: the culling and selecting of the highest value leads to send mail that would




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most closely match the mortgage products and programs Wells Fargo was featuring, borrower

sales leads, payment for printing, inserting and folding of mail pieces and/or postage.

           21.    In 2013, the Maryland Insurance Administration (“MIA”), the regulator of title

and settlement service providers in Maryland, began investigating Genuine Title related to its

payment of kickbacks to multiple lenders, including Wells Fargo.

           22.    The Consumer Financial Protection Bureau (“CFPB”) became involved in the

MIA’s investigation and ultimately filed a Complaint against Wells Fargo in the United States

District Court for the District of Maryland alleging that from 2009 through 2013 Wells Fargo

loan officers received and accepted marketing services from Genuine Title that assisted loan

officers in generating business and increasing the number of loans that Wells Fargo originated or

refinanced. These kickbacks were received, accepted and paid under an agreement and with the

understanding the Wells Fargo loan officers would refer the loans generated by these kickbacks

to Genuine Title for settlement services (“Genuine Title Kickback Scheme”). See Consumer

Financial Protection Bureau v. Wells Fargo Bank, N.A., Case No. 1:15-cv-00179-RDB (filed

Jan. 22, 2015).

           23.    The CFPB identified more than 90 Wells Fargo home mortgage consultants at 18

branches who were participating in the Genuine Title Kickback Scheme.

           24.    In 2015, Wells Fargo entered a Consent Order with the CFPB and agreed to pay a

civil penalty of $21,000,000 to resolve the CFPB’s allegations regarding Wells Fargo’s

participation in the Genuine Title Kickback Scheme from 2009 through 2013. See Ex. 1, Wells

Fargo, CFPB Consent Order.

           25.    In late 2015, Wells Fargo agreed to settle class claims for the RESPA violations

of its borrowers related to its participation in the Genuine Title Kickback Scheme. See Fangman



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v. Genuine Title, LLC, Case No. 1:14-cv-00081-RDB pending in the Northern Division of the

United States District Court for the District of Maryland, ECF Nos. 237 (Motion for Preliminary

Approval), 251 (Preliminary Approval Order), 400 (Final Approval Order and Judgment).

           The Patriot Defendants Kickback Scheme with Wells Fargo

           26.   At or about the time the MIA and CFPB began investigating Genuine Title in

2013, Wells Fargo discontinued its relationship with and participation in the Genuine Title

Kickback Scheme.

           27.   In order to continue to receive the benefits it received under the Genuine Title

Kickback Scheme and to continue to generate business and increase the number of loans that

Wells Fargo originated or refinanced, Wells Fargo substituted the Patriot Defendants for

Genuine Title, and began accepting and receiving kickbacks from the Patriot Defendants in

exchange for the referral of residential mortgage loans and refinance transactions originated by

Wells Fargo to the Patriot Defendants for settlement services.

           28.   Beginning in early 2013, and upon information and belief, continuing until on or

about April, 2015, based upon the Patriot Defendants and Wells Fargo’s continuing pattern of

practice, Wells Fargo, as well as licensed mortgage brokers, branch managers, HMCs and others

employed by Wells Fargo, directly or indirectly received kickbacks in the form of sales and

marketing leads and, upon information and belief, other things of value from the Patriot

Defendants in exchange for referrals of Wells Fargo borrowers to the Patriot Defendants for

settlement services (“Referral Agreement”) in violation of RESPA.

           29.   Wells Fargo corporate management was aware of and required its branch

managers and HMCs to participate in the Referral Agreement and to receive and accept the

kickbacks from the Patriot Defendants. Wells Fargo corporate management introduced Wells



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Fargo branch managers and HMCs to the Patriot Defendants to facilitate the Referral Agreement

and receipt and acceptance of kickbacks. These sales and marketing leads and other things of

value were received for the benefit of Wells Fargo

           30.     Wells Fargo corporate management told its branch managers, HMCs and other

employees and/or agents that it ended its relationship with Genuine Title because it was

dissatisfied with the service it was receiving from Genuine Title and did not disclose, and

concealed from its employees, borrowers and others, its participation in the Genuine Title

Kickback Scheme and the MIA and CFPB investigations and related proceedings.

           31.     During the relevant time period, Thomas Crowe was employed as a Wells Fargo

HMC. Thomas Crowe was required by Wells Fargo corporate management to participate in the

Patriot Kickback Scheme as a condition of his continued employment with Wells Fargo.

Thomas Crowe in fact referred loans to the Patriot Defendants under the Referral Agreement and

received and accepted from the Patriot Defendants kickbacks in the form of sales and marketing

leads for these referrals.

           32.     During the relevant time period, Jeffrey Bellak was employed as a Wells Fargo

HMC. Jeffrey Bellak was required by Wells Fargo corporate management to participate in the

Patriot Kickback Scheme as a condition of his continued employment with Wells Fargo. Jeffrey

Bellak in fact referred loans to the Patriot Defendants under the Referral Agreement and received

and accepted from the Patriot Defendants kickbacks in the form of sales and marketing leads for

these referrals.

           33.     During the relevant time period, Marc Cramer was employed as a Wells Fargo

HMC. Marc Cramer was required by Wells Fargo corporate management to participate in the

Patriot Kickback Scheme as a condition of his continued employment with Wells Fargo. Marc



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Cramer in fact referred loans to the Patriot Defendants under the Referral Agreement and

received and accepted from the Patriot Defendants kickbacks in the form of sales and marketing

leads for these referrals.

           34.     During the relevant time period, Theresa Cibotti was employed as a Wells Fargo

HMC. Theresa Cibotti was required by Wells Fargo corporate management to participate in the

Patriot Kickback Scheme as a condition of her continued employment with Wells Fargo.

Theresa Cibotti in fact referred loans to the Patriot Defendants under the Referral Agreement and

received and accepted from the Patriot Defendants kickbacks in the form of sales and marketing

leads for these referrals.

           35.     During the relevant time period, John Dally was employed as a Wells Fargo

HMC. John Dally was required by Wells Fargo corporate management to participate in the

Patriot Kickback Scheme as a condition of his continued employment with Wells Fargo. John

Dally in fact referred loans to the Patriot Defendants under the Referral Agreement and received

and accepted from the Patriot Defendants kickbacks in the form of sales and marketing leads for

these referrals.

           36.     During the relevant time period, John Fuhrmesiter was employed as a Wells

Fargo HMC.          John Fuhrmesiter was required by Wells Fargo corporate management to

participate in the Patriot Kickback Scheme as a condition of his continued employment with

Wells Fargo. John Fuhrmesiter in fact referred loans to the Patriot Defendants under the Referral

Agreement and received and accepted from the Patriot Defendants kickbacks in the form of sales

and marketing leads for these referrals.

           37.     During the relevant time period, Philip Caruso was employed as a Wells Fargo

HMC. Philip Caruso was required by Wells Fargo corporate management to participate in the

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Patriot Kickback Scheme as a condition of his continued employment with Wells Fargo. Philip

Caruso in fact referred loans to the Patriot Defendants under the Referral Agreement and

received and accepted from the Patriot Defendants kickbacks in the form of sales and marketing

leads for these referrals.

           38.   During the relevant time period, Jeffrey Nussbaum was employed as a Wells

Fargo HMC. Jeffrey Nussbaum was required by Wells Fargo corporate management to

participate in the Patriot Kickback Scheme as a condition of his continued employment with

Wells Fargo. Jeffrey Nussbaum in fact referred loans to the Patriot Defendants under the

Referral Agreement and received and accepted from the Patriot Defendants kickbacks in the

form of sales and marketing leads for these referrals.

           39.   During the relevant time period, Charles McKenna was employed as a Wells

Fargo HMC and branch manager. Charles McKenna was required by Wells Fargo corporate

management to participate in the Patriot Kickback Scheme as a condition of his continued

employment with Wells Fargo. Charles McKenna in fact referred loans to the Patriot Defendants

under the Referral Agreement and received and accepted from the Patriot Defendants kickbacks

in the form of sales and marketing leads for these referrals.

           40.   Plaintiffs believe, and therefore aver, and based upon Wells Fargo’s continuing

pattern of practice, in addition to Crowe, Bellak, Cramer, Cibotti, Dally, Fuhrmesiter, Caruso,

Nussbaum, and McKenna, other currently known or unknown branch managers, HMCs, and

other employees and/or agents of Wells Fargo participated in the Patriot Kickback Scheme.

           41.   Plaintiffs additionally believe, and therefore aver, based upon a continuing pattern

of practice, the Patriot Defendants provided, and currently known and unknown branch




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managers, HMCs, and other employees and/or agents of Wells Fargo received, things of value in

exchange for the referral of borrowers to the Patriot Defendants.

           42.   Plaintiffs believe, and therefore aver, that no title or settlement services were

provided by Wells Fargo and/or its employees and/or agents associated with the receipt of the

kickbacks.

           43.   The payment by the Patriot Defendants and acceptance by Wells Fargo of the

kickbacks were solely for the referral of borrowers to the Patriot Defendants.

           44.   Plaintiffs were charged for settlement services related to their federally-related

mortgage by the Patriot Defendants while Wells Fargo and its employees and/or agents were

engaging in the Patriot Kickback Scheme.

           45.   As a result of the Patriot Kickback Scheme, Plaintiffs and Class Members were

deprived of kickback-free settlement services and impartial and fair competition, in violation of

12 U.S.C. § 2607.

           46.   Plaintiffs and Class Members paid more for their settlement services because

Wells Fargo and its employees and/or agents performed no services in exchange for the

kickbacks paid and kickbacks were paid instead of lowering the cost of title and settlement

services to the consumers.

           47.   As a result of these Defendants’ participation in the Patriot Kickback Scheme,

Plaintiffs and Class Members were deprived of kickback-free settlement services and impartial

and fair competition, as required by 12 U.S.C. § 2607, and Plaintiffs and Class Members paid

more for their settlement services.

                  FACTS FOR INDIVIDUAL CLASS REPRESENTATIVES

           48.   On or about June, 2014, Plaintiff Anna Conover and her husband Marshall



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Conover, deceased, obtained a federally-related residential mortgage, brokered through Wells

Fargo by HMC Kathryn Griffin, in relation to the refinancing of their residential real property at

238 Main Avenue, Milmay, New Jersey.

           49.   Wells Fargo, by and through their employee Griffin, referred Marshall and Anna

Conover and their loan to the Patriot Defendants for title and settlement services. On the basis of

this referral, Marshall and Anna Conover used Patriot Land Transfer LLC for title and settlement

services and settled on or about June 16, 2014. Marshall and Anna Conover paid the Patriot

Defendants for title and settlement services. See Exhibit 1, Conover HUD-1.

           50.   Wells Fargo, by and through its employee Griffin, referred Marshall and Anna

Conover to the Patriot Defendants for title and settlement services pursuant to the Referral

Agreement with the Patriot Defendants as a quid pro quo for receiving sales and marketing leads,

and, upon information and belief, other things of value, from the Patriot Defendants.

           51.   Wells Fargo and the Patriot Defendants omitted the kickbacks from the Conover

Plaintiffs’ HUD-1 settlement statement and other required loan documents in an effort to conceal

the kickbacks from Plaintiffs, and did so conceal the kickbacks from Plaintiffs.

           52.   Wells Fargo and the Patriot Defendants hid and chose not to disclose to Plaintiffs

their coordinated business relationship in an effort to conceal the kickbacks and the Patriot

Kickback Scheme from Plaintiffs, and did so conceal the coordinated business relationship,

kickbacks and the Patriot Kickback Scheme from Plaintiffs.

           53.   Marshall and Anna Conover paid the Patriot Defendants for those title and

settlement services. A portion of that payment was illegally split and shared with Wells Fargo

through the Patriot Defendants’ payment for marketing leads, and, upon information and belief,




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other things of value to Wells Fargo and its branch managers, HMCs and other employees and/or

agents.

           54.   As a direct and proximate result of the actions of Wells Fargo and the Patriot

Defendants, Plaintiff Anna Conover and other Class Members were deprived of impartial and

fair competition between settlement service providers in violation of RESPA, paid more for said

settlement services, and suffered other harms.

           55.   On or about June, 2014, Plaintiffs Parrish and Jacqueline Sheridan obtained a

federally-related residential mortgage, brokered through Wells Fargo by HMC Jeffrey

Nussbaum, in relation to the refinancing of their residential real property at 213 Fairway Lane,

Neptune, New Jersey. See Exhibit 2, Sheridan Transactional Loan Closing Instructions Sheet.

           56.   Wells Fargo, by and through their employee Nussbaum, referred the Sheridans

and their loan to the Patriot Defendants for title and settlement services. On the basis of this

referral, the Sheridans used Patriot Land Transfer LLC for title and settlement services and

settled on or about June 25, 2014. The Sheridans paid the Patriot Defendants for title and

settlement services. See Exhibit 3, Sheridan HUD-1.

           57.   Wells Fargo, by and through its employee Nussbaum, referred the Sheridans to

the Patriot Defendants for title and settlement services pursuant to the Referral Agreement with

the Patriot Defendants as a quid pro quo for receiving sales and marketing leads, and, upon

information and belief, other things of value, from the Patriot Defendants.

           58.   Wells Fargo and the Patriot Defendants omitted the kickbacks from the

Sheridans’ HUD-1 settlement statement and other required loan documents in an effort to

conceal the kickbacks from Plaintiffs, and did so conceal the kickbacks from Plaintiffs.




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           59.   Wells Fargo and the Patriot Defendants hid and chose not to disclose to the

Sheridans their coordinated business relationship in an effort to conceal the kickbacks and the

Patriot Kickback Scheme from Plaintiffs, and did so conceal the coordinated business

relationship, kickbacks and the Patriot Kickback Scheme from Plaintiffs.

           60.   The Sheridans paid the Patriot Defendants for those title and settlement services.

A portion of that payment was illegally split and shared with Wells Fargo through the Patriot

Defendants’ payment for marketing leads, and, upon information and belief, other things of value

to Wells Fargo and its branch managers, HMCs and other employees and/or agents.

           61.   As a direct and proximate result of the actions of Wells Fargo and the Patriot

Defendants, the Sheridans and other Class Members were deprived of impartial and fair

competition between settlement service providers in violation of RESPA, paid more for said

settlement services, and suffered other harms.

           62.   On or about November, 2014, Plaintiffs Bryan and Jacqueline Van Velson

obtained a federally-related residential mortgage, brokered through Wells Fargo by HMC Jeffrey

Nussbaum, in relation to the refinancing of their residential real property at 4 Park View Drive,

Hazlet, New Jersey.

           63.   Wells Fargo, by and through their employee Nussbaum, referred the Van Velsons

and their loan to the Patriot Defendants for title and settlement services. On the basis of this

referral, the Van Velsons used Patriot Land Transfer LLC for title and settlement services and

settled on or about November 10, 2014. The Van Velsons paid the Patriot Defendants for title

and settlement services.

           64.   Wells Fargo, by and through its employee Nussbaum, referred the Van Velsons

to the Patriot Defendants for title and settlement services pursuant to the Referral Agreement



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with the Patriot Defendants as a quid pro quo for receiving sales and marketing leads, and, upon

information and belief, other things of value, from the Patriot Defendants.

           65.   Wells Fargo and the Patriot Defendants omitted the kickbacks from the Van

Velsons’ HUD-1 settlement statement and other required loan documents in an effort to conceal

the kickbacks from Plaintiffs, and did so conceal the kickbacks from Plaintiffs.

           66.   Wells Fargo and the Patriot Defendants hid and chose not to disclose to the Van

Velsons their coordinated business relationship in an effort to conceal the kickbacks and the

Patriot Kickback Scheme from Plaintiffs, and did so conceal the coordinated business

relationship, kickbacks and the Patriot Kickback Scheme from Plaintiffs.

           67.   The Van Velsons paid the Patriot Defendants for those title and settlement

services. A portion of that payment was illegally split and shared with Wells Fargo through the

Patriot Defendants’ payment for marketing leads, and, upon information and belief, other things

of value to Wells Fargo and its branch managers, HMCs and other employees and/or agents.

           68.   As a direct and proximate result of the actions of Wells Fargo and the Patriot

Defendants, the Van Velsons and other Class Members were deprived of impartial and fair

competition between settlement service providers in violation of RESPA, paid more for said

settlement services, and suffered other harms.

                                CLASS ACTION ALLEGATIONS

           69.   The allegations in the above stated paragraphs are incorporated by reference as if

fully restated herein.

           70.   Plaintiffs bring this action on behalf of themselves and all other similarly situated

individuals pursuant to Fed. R. Civ. P. 23, and the alleged Patriot Class is defined as follows:

                 All individuals in the United States who were borrowers on a
                 federally related mortgage loan (as defined under the Real Estate


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                 Settlement Procedures Act, 12 U.S.C. § 2602) for which Patriot
                 Land Transfer, LLC (also d/b/a Patriot Land Transfer of NJ LLC)
                 and/or Patriot Land Processing LLC provided a settlement service,
                 as identified in Section 1100 on the HUD-1, between January 1,
                 2013, and April 13, 2015. Exempted from this class is any person
                 who, during the period of January 1, 2013 through April 13, 2015,
                 was an employee, officer, member and/or agent of Patriot Land
                 Transfer LLC and/or Patriot Land Processing LLC, and any
                 judicial officer who handles this case, and the immediate family
                 members of such judicial officer(s).

           71.   Upon information and belief, the Patriot Class is comprised of subclasses defined

by the lender or other company that brokered or originated the subject class loan. These

subclasses specifically include:

                 Subclass 1: All Patriot Class Members who were borrowers on a
                 federally related mortgage loan (as defined under the Real Estate
                 Settlement Procedures Act, 12 U.S.C. § 2602) brokered or
                 originated by Wells Fargo Bank N.A., for which Patriot Land
                 Transfer, LLC (also d/b/a Patriot Land Transfer of NJ LLC) and/or
                 Patriot Land Processing LLC provided a settlement service, as
                 identified in Section 1100 on the HUD-1, between January 1,
                 2013, and April 13, 2015. Exempted from this subclass is any
                 person who, during the period of January 1, 2013 through April 13,
                 2015, was an employee, officer, member and/or agent of Wells
                 Fargo Bank N.A.

Additional subclasses may be similarly defined on identification of other non-Wells Fargo

Participating Lenders.

           72.   There are questions of law and fact common to the claims of each and all

members of the Class. These common questions include, but are not limited to:

                 a.      Whether Wells Fargo and its employees and/or agents received unearned
                         fees and illegal kickbacks from the Patriot Defendants for the referral of
                         business to the Patriot Defendants;

                 b.      Whether Wells Fargo and its employees and/or agents’ receipt and
                         acceptance of sales and marketing leads, and, upon information and belief,
                         other things of value violated RESPA;

                 c.      Whether Plaintiffs and Class Members were forced to pay more for said
                         settlement services;

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                 d.    Whether Wells Fargo and the Patriot Defendants actively concealed the
                       Patriot Kickback Scheme to avoid detection by Plaintiffs and Class
                       Members;

                 e.    Whether Plaintiffs and the Class are entitled to treble damages under
                       RESPA;

                 f.    Whether Plaintiffs and the Class are entitled to attorneys’ fees and
                       expenses under RESPA;

                 g.    Whether Wells Fargo failed to disclose and concealed from Plaintiffs and
                       Class Members that Wells Fargo, and its branch managers, HMCs and
                       other employees and/or agents, were participating with the Patriot
                       Defendants in the Patriot Kickback Scheme and failed to disclose and
                       concealed, among other things, their coordinated business arrangements
                       and/or relationships; and

                 h.    Whether despite exercising reasonable due diligence, Plaintiffs and Class
                       Members did not and could not have learned of the illegal kickbacks and
                       the Patriot Kickback Scheme until contacted by counsel.

           73.   These common issues of law and fact, and the common statutory measure of

damages, predominate over any question affecting only individual Class Members.

           74.   Because of Defendants’ omission of kickbacks from any line or section of

Plaintiffs’ HUD-1s, Plaintiffs did not know and could not know of the kickbacks or the Patriot

Kickback Scheme at the time of settlement or thereafter. Plaintiffs acted reasonably and

diligently.

           75.   Wells Fargo concealed and failed to report its participation in the Patriot

Kickback Scheme to the CFPB during its investigation at the time of or after entering the

Consent Order, furthering Plaintiffs’ and Class Members’ inability to know about the Patriot

Kickback Scheme at the time of the CFPB Consent Order or thereafter. Plaintiffs acted

reasonably and diligently.

           76.   Plaintiffs did not and could not have known about the Kickback Scheme until

contacted by undersigned counsel on or about April 26, 2017, due to the Patriot Defendants’ and



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Wells Fargo’s efforts to conceal the kickbacks and the Patriot Kickback Scheme from Plaintiffs,

Class Members, and regulators. Plaintiffs acted reasonably and diligently.

           77.   Plaintiffs’ transactions and the course of events thereafter exemplify the working

of the Patriot Kickback Scheme, and are typical of the transactions involving all members of the

proposed class.

           78.   Plaintiffs’ claims are typical of the claims or defenses of the respective Class

Members, and are subject to the same statutory measure of damages set forth in 12 U.S.C. §

2607(d)(2).

           79.   Plaintiffs will fairly and adequately protect the interests of the Class. The interests

of the named Plaintiffs and all other members of the Class are identical.

           80.   Plaintiffs’ counsel has substantial experience in complex litigation and class

action proceedings and will adequately represent the Class’ interests.

           81.   The Class consists, upon information and belief, of over one hundred borrowers,

and thus are so numerous that joinder of all members is impracticable.

           82.   Separate actions by individual members of the class would create a risk of

inconsistent or varying adjudications with respect to individual members of the class that would

establish incompatible standards of conduct for Wells Fargo.

           83.   This action entails questions of law and fact common to Class Members that

predominate over any questions affecting only individual Plaintiffs, and, therefore, a class action

is superior to other available methods of fair and efficient adjudication of this litigation.

           84.    Other than those who have been contacted by Plaintiffs’ counsel, Class Members

are unaware of their rights to prosecute a claim against Defendants.




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           85.   No member of the Class has a substantial interest in individually controlling the

prosecution of a separate action, but if he or she does, he or she may exclude himself or herself

from the class upon the receipt of notice under Fed. R. Civ. P. 23(c).

                                             COUNT I
                 Violation of the Real Estate Settlement Procedures Act (RESPA),
                                    12 U.S.C. § 2607(a) and (b)

           86.   Plaintiffs incorporate the above stated paragraphs as if restated herein.

           87.   All transactions at issue in the instant complaint are incident to or part of real

estate settlement services involving federally related mortgage loans and thereby are subject to

the provisions of RESPA, 12 U.S.C. § 2601, et seq.

           88.   At all relevant times, the Patriot Defendants were subject to the provisions of

RESPA, 12 U.S.C. § 2601, et. seq.

           89.   As a lender and/or broker and/or servicer of federally related mortgage loans,

Wells Fargo, and its branch managers, HMCs and other employees and agents involved in the

origination and closing of residential mortgage loans, are subject to the provisions of RESPA, 12

U.S.C. § 2601, et seq.

           90.   The Patriot Defendants provided Wells Fargo, and its branch managers and

HMCs, kickbacks and/or things of value in exchange for referrals of business to the Patriot

Defendants, in violation of RESPA, 12. U.S.C. § 2607(a) and (b).

           91.   Wells Fargo directly and by and through its branch managers, HMCs, and other

employees and/or agents, received and accepted things of value for referrals of business as part

of real estate settlement services provided to Plaintiffs and Class Members, in violation of

RESPA, 12 U.S.C. § 2607(a) and (b).




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           92.   All loans referred to the Patriot Defendants as part of the Patriot Kickback

Scheme were secured by first or subordinate liens on residential real property and were made in

whole or in part by Wells Fargo and/or its affiliates, whose deposits or accounts are insured by

the Federal Government and/or who are regulated by an agency of the Federal Government.

           93.   The payment and/or arranging of payment of kickbacks to Wells Fargo, its branch

managers, HMCs and other employees and/or agents, by the Patriot Defendants and the

corresponding receipt thereof constitute a violation of § 8(a) of RESPA, which prohibits the

payment of referral fees or kickbacks pursuant to an agreement in connection with the

origination or brokering of federally related mortgage loans.

           94.   The kickbacks paid by the Patriot Defendants to Wells Fargo and its branch

managers, HMCs, and other employees and/or agents, were also made solely for the purpose of

the Patriot Defendants receiving referrals for settlement services. No services were actually

performed by Wells Fargo or its branch managers, HMCs and other employees and/or agents in

connection with the receipt of these payments and/or things of value, in violation of 12 U.S.C. §

2607(b), which prohibits the splitting of fees in connection with the origination of federal related

mortgage loans.

           95.   The Patriot Defendants and Wells Fargo fraudulently and actively concealed the

kickbacks and the Patriot Kickback Scheme from Plaintiffs and Class Members by refusing to

list the kickbacks on Plaintiffs and Class Members’ HUD-1 settlement statements and other

required loan documents, failing and refusing to disclose their coordinated business arrangement,

and by engaging in an elaborate payment scheme to conceal the illegal kickbacks. In addition,

Wells Fargo fraudulently and actively concealed the kickbacks and the Patriot Kickback Scheme




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by failing to report and/or disclose the kickbacks and the Patriot Kickback Scheme during the

CFPB investigation and/or pursuant to the Consent Order.

           96.   Wells Fargo chose, in part, to conceal the Patriot Kickback Scheme from the

CFPB because the CFPB required Wells Fargo to pay restitution to the Genuine Title Kickback

Scheme victims in addition to being exposed to liability to those victims on a direct or class

action for compensation under RESPA.

           97.   Despite acting reasonably and exercising due diligence, Plaintiffs and Class

Members did not and could not have known about the Patriot Kickback Scheme until contacted

by undersigned counsel.

           98.   As a direct and proximate result of the Patriot Defendants’ and Wells Fargo’s

actions, Plaintiffs and Class Members used the Patriot Defendants for title and settlement

services, paid for said services and were deprived of impartial and fair competition and, but for

the Patriot Kickback Scheme, the costs paid by Plaintiffs and Class Members to the Patriot

Defendants for settlement services would have been lower.

           WHEREFORE Plaintiffs respectfully demand:

           a.    That this Court certify this class action pursuant to Federal Rule of Civil

                 Procedure 23 and set this matter for trial; and

           b.    That this Court enter judgment for Plaintiffs and Class Members against the

                 Patriot Defendants and Wells Fargo, jointly and severally, and award Plaintiffs

                 and Class Members an amount equal to:

                 1.     Damages for settlement services charged by the Patriot Defendants,
                        including, but not limited to, title insurance premiums, in an amount equal
                        to three times the amount of any charge paid for such settlement services,
                        pursuant to 12 U.S.C. § 2607(d)(2);




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              2.       Reasonable attorneys’ fees, interest and costs pursuant to 12 U.S.C. §
                       2607(d)(5); and

              3.       Such other and further relief as this Court deems proper.


                                                  LITE DEPALMA GREENBERG LLC


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                                    PRAYER FOR JURY TRIAL

           Plaintiffs and Class Members hereby request a trial by jury on the foregoing Class Action

Complaint.

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                           LOCAL CIVIL RULE 11.2 CERTIFICATION

           Pursuant to Local Civil Rule 11.2, I hereby certify that the matter in controversy is not

related to any other action, pending arbitration or administrative proceeding currently pending in

any court.

           I hereby certify that the following statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.

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